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CIVIL DISTRICT COURT
PARISH OF ORLEANS
STATE OF LOUISIANA

NO. 19-C1371 DIVISION "c™

JAMES DOE
versus

ARCHDIOCESE OF NEW ORLEANS INDEMNITY, INC., THE CATHOLIC
MUTUAL RELIEF SOCIETY OF AMERICA, THE ROMAN CATHOLIC
CHURCH OF THE ARCHDIOCESE OF NEW ORLEANS, FATHER MICHAEL
FRASER, AND FATHER PAUL CALAMARI

Proceedings taken in the above-captioned and
—-numbered matter, heard in open court before the HONORABLE
SIDNEY H. CATES, IV, Judge presiding, on Friday,

February 7, 2020.
Reported by:

LAURIE F. HENDRICKSON, RMR, CRR, CCR

APPEARANCES:

JOHN H. DENENEA, UR., ESQ.

RICHARD C. TRAHANT, ESQ.

SOREN E. GISLESON, ESQ.
Attorneys for the Plaintiff

EDWARD DIRK WEGMANN, ESQ.

BRODIE G. GLENN, ESQ.

TAN P. GUNN, ESO.

ALLISON B. KINGSMILL, ESQ.

WAYNE G. ZERINGUE, JR., ESQ.
Attorneys for The Roman Catholic Church of the
Archdiocese of New Orleans

EVAN PARK HOWELL III, ESO.
Attorney for Father Paul Calamari

 

EXHIBIT 12

 

 

 
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ROMAN CATHOLIC CHURCH OF THE ARCHDIOCESE OF NEW
ORLEANS' EXHIBIT INDEX

 

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~ Transcript in Tom Doe,
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THE COURT:

23 is next, James Doe v. The Roman Catholic

 

Church.

Before y'all announce all of your
appearances on the record, I'm aware that
there's some protective order in place in other
cases. Is this record sealed or anything?

Okay. Go ahead and proceed.

MR. GISLESON:

Good morning, Your Honor. Soren Gisleson,
Rick Trahant, Johnny Denenea on behalf of
plaintifet.

THE COURT:
Good morning, gentlemen.
MR. WEGMANN:

Dirk Wegmann, Your Honor, on behalf of the

Archdiocese,
MS. KINGSMILL:
Allison Kingsmill on behalf of the

Archdiocese.

MR. GLENN:
Brodie Glenn on behalf of the Archdiocese.
MR. GUNN:
Tan Gunn on behalf of the Archdiocese, Your
Honor.
MR. HOWELL:
Evan Howell on behalf of the defendant Paul
Calamari. Thank you, Your Honor.

THE COURT:
Good morning, gentlemen, ladies.
This is the Archdicocese's motion for

extension of time, for a protective order, and a

hab
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1 request for a status conference.

2 MR. WEGMANN:

3 Yes, Your Honor.

4 THE COURT:

5 Are you going to argue them ail?

6 MR. WEGMANN:

7 Yes, sir.

3 THE COURT:

9 Thank you.

10 MR. WEGMANN:

11 Good morning.

12 THE COURT:

13 Good morning.

14 MR, WEGMANN:

L5 So some general background here, Judge:
16 Some of it hopefully will be helpful to you in
i? understanding the context in which, as you

18 suggested, you know, we appear before you.

19 On the motion for extension of time with
20 respect to the discovery, we filed answers to
21 the discovery interrogatories on January 15. We
22 only need an additional 15 days from today, two
23 weeks, to produce documents, provided that there
24 is a protective order in place to protect

25 confidential information in those documents.

26 THE COURT:

27 Is that objected to by the plaintiff?

28 MR. GISLESON:

29 Your Honor, plaintiffs are okay with them
30 producing documents within 15 days. We're not
31 okay with it being conditioned on a motion

32 that's yet to be heard, because they're saying
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they're not gonna produce any documents without

a protective order being issued.

THE COURT:

That's fair.
GISLESON:

We haven't argued the protective-order
issue yet. Thank you.
WEGMANN:

Okay. So, Judge, with respect to the
protective order that we're requesting, as Your
Honor may know, there are now 20 or more Doe
cases involving clergy of the Archdiocese and
others. All of these claims involve claims of
sexual abuse that occurred decades ago.

In nine of these cases, including this one,
the same discovery interrogatories and request
for production of documents were issued to the
Archdiocese by the same lawyers. In other
words, in these nine cases, the plaintiféfs'
lawyers are the same; and, of course, the
Archdiccese lawyers are generally the same. In
some cases, there are additional Archdiocese
lawyers because there's insurance coverage, but
my firm and another firm are the primary defense
firm for the Archdiocese itself.

These 20 different cases have been allotted

to 10 different judges. Judge, you got four of

THE COURT:

them.
Thanks,
WEGMANN:
Judge Bruno's got one. Judge Hazeur's got
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three. Judge Griffin's got four. Judge Irons
has got one. Judge Johnson's got one. Judge

Julien has three. dudge Reese has one. Judge
Sheppard has one, and Judge Giarrusso has one.

So in the nine cases in which the discovery
was addressed to the Archdiocese, in six of
those cases, we've previously argued the motion
for protective order. And different judges have
handled it in different ways, and I'd like te
make a record of what the other judges have done
for the benefit of the Court.

In the first-filed case, which is the John
Doe --

COURT:

Division "A"?
WEGMANN:

Excuse me?
COURT:

That's the one in Division "A"?
WEGMANN:

Yes, sir.

COURT:

There's already a protective order in
place?
WEGMANN:

Yes, sir, and that's -- You know, and so
that's the first-filed case, and that's where
the Archdiocese first filed its motion for
protective order. Judge Hazeur appointed a
special master, with the consent of the
plaintiff: Judge -- former Judge Gill-Jefferson.

She heard the arguments with respect to
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whether or not a protective order should issue,
and she recommended a protective order. And
then that was recommended, of course, to Judge
Hazeur, who signed the protective order.

And the protective order that was signed,
I'd like to offer, file, and introduce that into
evidence. That's the protective order in that
case,

And I would point out to the Court that
literally the only limitation that is in this
protective order is that whatever is produced
and marked "confidential" can be used solely for
purposes of the litigation.

The protective order does not govern the
nonproduction of information. In other words,
it's solely designed to say that, okay, if I
give you the names of people who have made
claims, if I give you the names of people that
have asserted other claims, if I give you the
personnel file of this clergy member that has
personal information in it, including heaith
care information, if I give you this information
and i mark it "confidential," the sole
limitation is that you must use it in connection
with the case. We're producing the information,
just designating it as "confidential."

And much -~ You know, the vast majority of
the information that's been requested, you know,
really doesn't pertain to any relevant issue in
the lawsuit. There have become, I'm gonna call
it, side-show issues, like the New Orleans

Saints e-mails, with respect to the preparation
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of a list in 2018 of clergy.

Be that as it may, there's just clearly
confidential information in these personnel
files that they've asked for production. They
don't dispute that some of the information
that's in the personnel files is confidential.
There is a dispute as to whether all of the
information that we are producing is
confidential or not.

But, of course, you have the chicken and
egg or the horse and the cart. What comes
first? What comes first is there's a protective
order to protect confidential information.

Under the protective order, you designate
information as confidentiai. If the other party
disagrees that it's confidential, then the Court
has another hearing to determine whether or not
the information that you had marked is indeed
confidential.

And so, once again, so Judge Gill-Jefferson
reviewed all of this. She found that there was
Multiple types of confidential and private
information that should be governed by a
protective order. There's private
communications between the Archdiocese and third
parties. There are documents regarding
allegations of sexual abuse against clergy
members. There are people's names and personal
information in the personnel files. There are
health care documents.

The entire personnel file itself is

generally considered by courts to be
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confidential. It's got all kinds of information
in it. There's other personal information of
people: cell phone numbers, e-mail addresses,

things of that nature.
And once again, Judge, the only limitation:

that you've get to use it --

THE COURT:

I understand your argument.
WEGMANN:

-- in connection with the case.

So Judge Gill-Jefferson found that there's
confidential, private information regarding the
plaintiffs and the defendants and third parties.
And she said, given the nature of these
proceedings and the confidentiality of certain
documents, it is imperative that a protective
order issue.

And a protective order protects the privacy
of the information; it deesn't prevent the
disclosure or use in the litigation.

The special master also considered their
objections to the process of the protective
order that we proposed. Once Judge Gill-
Jefferson recommended the protective order, we
then worked out the terms of the protective
order and modified some terms and conditions
pursuant to plaintiff's counsel request. And
the procedures that were set forth in the
protective order were agreed to, again, in that
case, John Doe, and acknowledged by Judge
Hazeucr.

And so, you know, the plaintiff himself
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filed this suit under seal and is protecting
information with respect to himself, as well, If
guess, he should. But it's a two-way street.
We want to protect our confidential information
as well.

And then, you know, the next case we argued
was in front of Judge Ervin-Knott.

THE COURT:
Io don't want you to read all of what
happened in -~-
MR. WEGMANN:
Okay. All the other cases. Okay.
THE COURT:

Now, you've suggested that you want to
introduce that.

Are y'all oppesed to him introducing the
other orders? --

~~ because I'm not going to have all these
people sit here while you read it.

MR. GISLESON:
No, Your Honor, we're not opposed te that
being introduced into the record.
THE COURT:
So you've offered --
MR. WEGMANN:

Yes, sir. So I have eight exhibits. I'll
just -- I'll give a copy toe piaintiff's
counsel,

It's the special master's report from
September 25, 2019; the "Protective Order" dated
October 28, 2019; the judgment by Judge Hazeur

dated November 14, 2019, adopting the special

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master's report. Number 4 is the November 7,
2019, special master's report, again
recommending a protective order,

Number 5S is the -- Judge Griffin's
"Judgment," stating that she would grant a
protective order to be -- in terms to be agreed
on between the parties; and if not, she would
enter the pretective order. In another case in
firent of Judge Griffin, we don't have a judgment
yet, so I'm introducing the transcript as number
6.

Ana then I have the transcript of the
hearing before Judge Johnson, who also is gonna
grant a protective order of some sort, but she
hasn't done it yet. And then number 8 is the
judgment by Judge Knott, which grants a limited
protective order.

So, Judge, just, you know, in anticipation
of what they're arguing, once again, the issue
today is not what is confidential in the
documents. That's reserved for another day.
They want to argue about, you know, information
being confidential or not. Ali we're asking for
is a protective order and reserving the right
for the Court to determine in a further hearing
what's confidential or not.

The plaintiff also, Judge, confuses the
critical distinction -- I'm talking about their

brief -- between materials --

THE COURT:

IT understand on the record that you're

arguing your rebuttal now. Do you want to do it
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after he argues, or do you want to --
WEGMANN:
I will. I'll be brief here, but simply

that materials produced in --

COURT:

So if you do it now -~<
WEGMANN:

-- discovery require --
COURT:

-~- I'm net going to let you do it again.
WEGMANN:

Okay. Well, I'll wait then. Okay.
COURT:

Thank you.
WEGMANN:

So that's what we've got. Thank you, sir.
COURT:

Counsel?
WEGMANN:

And so I'd like to offer, file, and
introduce into evidence Exhibits 1 to 8, and I
have copies.

COURT:

Let them be received into evidence without
objection.

Plaintiff?

GISLESON:

Good morning, Your Honor. Soren Gisleson
on behalf of the plaintifis.

You know, the defendant has the burden of
proving good cause. That is the burden that

they must supply to Your Honor. They haven't

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met it. They haven't introduced or attached a
single document as an example of something that
should be maintained as confidential.

When the Court looks to decide whether or
not to enter a protective order in the case, the
first thing the Court should look it, frankly,
is the context of the case, What are the
underlying allegations? Are they something that
has to do with trade secrets? -- 'cause you see
protective orders in trade secrets.

That's not what this case is. This case is
criminal allegations, even though it's a civil
case, that have to do with pedophilia and the
church's cover-up of criminal activity. That's
what's at issue here. That is what they want to
cover up with the protective order. That is not
what protective orders are designed to do.

We concede that another judge, a special
Master, has recommended, and there was in place,
a protective order that was so onerous and
unworkable that not a single other judge, of the
other five judges who have looked at this issue,
have gone along with that particular protective
order.

Frankly, the bulk of the other judges in

the other cases have basically said: Look, you
guys, turn over all the documents. I'll put a
couple of sentences in the judaqment. Let the

piaintiffs look at all the documents. And at
that point, we'll just reschedule the motion for
protective order, when the plaintiffs can look

at these documents and we can have an honest

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discussion about whether or not e-mails related
to sexual abuse, whether a personnel file
related to criminal activity and personal sexual
abuse, are of the nature that protective orders
are designed to protect -- because that's not
what's going on in this case.

The plaintiffs have said from the beginning
we are fine with protecting the identity of
other victims; we agree that that information
should be protected. And we're fine if Your
Honor wants to put a couple sentences in the
judgment, denying the protective order as to
everything else but stating, yes, I will enter a
protective order that Limits the protection of
the identity of cther victims.

But simply because a defendant comes in
with a burden and says, “I'm not attaching a
document. Yes, these are all criminal
allegations; yes, these are outrageous
allegations. The public has a very real
interest in knowing what happened and how it
happened; we still get to enter into a
protective order," that's not how protective
orders work. It just isn't,

Does Your Honor have any questions?

THE COURT:

I don't have any questions.
HOLWADEL:

Your Honor, I'll be very brief. But my
client is one of the accused. I have already
worked out an arrangement of a protective order

of sorts between counsel that certain
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information, such as health care and things like
that, are not gonna be disclosed,

I just want to make the record clear
that -- And whatever you rule for the
Archdiocese or the plaintiffs, I don't want my
client's personal medical records and things
like that out into the public. That's all, Your

Honor. Thank you.

THE COURT:

Thank you, Counsel.

Rebuttal?

MR. WEGMANN:

Yes, Judge, it's fairly brief. There is no
cover-up here. Tne documents are being produced
subject to a protective order.

It really is -- This case is not a case
that should be tried in the newspaper. It's a
case that should be tried before the Court.

The information that's being produced is
produced in discovery for discovery purposes,
for use in the litigation. If and when this
information is introduced into evidence at
trial, it will not be under seal; it will be
part of the record.

But until the Court considers whether the
information that's being produced is relevant
and admissible as evidence, it should not be
carried over to the newspaper, to somebody's
best friend to look at and have a laugh about or
a criticism about.

People's names, people's involvement in

these things, these allegations that are made

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that are yet to be proven -- We are trying to
protect everyone's privacy by being fully
transparent in disclosing the information but
protecting the privacy of the individuals that
are involved.

A clear distinction between discovery and a
court record: once it gets introduced in the
court record, it's open to the public. But in
discovery, personal e-mails -- for example,
communications by and between people who are
private individuals that never expected their
personal e-mails to be turned over to a
newspaper or somebody else's best friend --
should be maintained as confidential.

And so the process and the procedure,
whether it's a business dispute, a health care
dispute, or any other dispute, is a court enters
a protective order, and it allows every party to
designate information as confidential, the sole
limitation being you must use the information in
connection with the case. You can do whatever
else you want with it, but it has to be in
connection with the case. You can't take it and
give it to your best friend to read. You can't

give it and turn it over to the newspaper.

THE COURT:

Den't say that anymore. I don't think
they're planning on giving it to their best
friends to read and laugh about.

WEGMANN:

Okay. Well, they have been giving it --

THE COURT:

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1 That's the fourth time --

2 MR. WEGMANN:

3 -- to the newspaper.

4 THE COURT:

5 -- you say that.

6 MR. WEGMANN:

7 They have been giving it to the newspaper.
8 Okay? And so we request the same protective

9 order that Judge Hazeur entered. Judge Piper
10 Griffin has ordered that a protective order be
11 entered, the terms of which she's gonna

12 stipulate to. Judge Rachel Johnson said there
13 will be a protective order. Judge Knott said
14 there will be a protective order. Some of the
15 terms are different,

16 But we request a protective order, and we
17 believe that the protective order issued by

18 Judge Hazeur is a routine, regular protective
ig order that protects both parties' interest.

20 They can challenge the confidentially of
21 the information. We'll come before Your Honor,
22 and Your Honor will decide what to do with

23 whether or not the information is confidential
24 or not. Thank you.

25 THE COURT:

26 Thank you.

27 You've got a surrebuttal?

28 MR. GISLESON:

29 Yeah, I just -- I do, Your Honor, briefly.
30 We have never provided any documentation to any
31 media outlet that any court has ever designated

32 as confidential. That's false.
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MR. WEGMANN:

I didn't say that.
GISLESON:

Number 2, number 2, the bulk of the
decisions out there on protective orders are
not, and shouldn't be represented as such, are
not: We're entering protective orders, no
matter what.

The bulk of the other decisions are: Give
all the documents. I'll enter a judgment on
this; I'll enter a judgment on this case that
says, “Turn over all the documents right new
that you are holding back because you claim
they're confidential." I'll put a one- or
two-sentence lines into the judgment that says:
Okay. These are sort of protected for purposes
in this limited capacity right now. Let's
reschedule the motion for protective order down
the road, and then we'li have a true -- whatever
you want to call it -- document fight.

And we can come up, and everybody can look
at this e-mail between these two peopie that say
this particular thing, that Your Honor can go:
That's ridiculous. That shouldn't be
confidential. That shouldn't be privileged.

And that's what the bulk of the other
decisions are. There hasn't been another judge
that has entered 4 protective order at all, a
permanent protective order at all, other than
that first one, especially when they heard our

concerns about how onerous and difficult it was.

THE COURT:

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Anything else for the record, Counsel?

WEGMANN:
No, Your Honor. The record speaks for
itself in terms of what -- the protective order

issued by Judge Hazeur and Judge Griffin and the
other judges. And we just simply request that
we try -- we try to be consistent, you know. It
would be best, cf course, if all these cases
could be handled, you know, consistently. But
each judge has the right to do what they feel
is, you know, their duty under the law.

So once again, we request that the
protective order issued by Judge Hazeur be
entered. We'll be guided by whatever ruling

Your Honor makes.

THE COURT:

Thank you, Counsel.

Given the fact that y'all aren't obtecting
to the extension request, I'm going to give them
30 days. I don't think that prejudices either
side.

I'm also going to -- What I'm grappling
with -- Quite frankly, I'm not necessarily
influenced, one way or the other, about what you
say the bulk of the other judges did or what you
say the bulk of the other judges have done. I'm
going to do whatever orders I'm going to issue
in this case based on my appreciation of the
facts and my interpretation of the law. To the
extent that that might provide some guidance is
another issue.

But I'm concerned about issuing a
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protective order in advance of producing the
documents. So I'm going to try to perhaps issue
a different kind of order.

I want you to produce the documents.

I'm going to order that you not use it for
any other purposes other than in connection with
this case and that, if you intend to release it
to anyone --

-~ that y'all revisit my section before
that happens.

That way, you have the benefit of access to
the information.

You have the benefit of protection and
nondisclosure.

And on those things that you can't agree
on, then I will address in advance of any
release to anybody else.

MR, WEGMANN:

Okay, Judge. So I will take what you just
said and put it into a judgment and say that the
Court is issuing what would be referred to as a
"Limited protective order,” that the Archdiocese
will produce documents. The documents that will
be marked --

THE COURT:

That's not what I said. i said I'm going
te order production of the documents.

And I'm going to order that you not
Gisclose those documents to anyone other than in
connection with this case, And before you do
that --

-- if y'all disagree on the substance or
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the privilege that's asserted or the privacy
issue that presents itself by that information,
y'all are going to come back to me.

I think what you're doing is you're going
to have the benefit of saying your recitation of
my order, in that you want it to say I've issued
a limited protective order. And I've not done
that.

I'm going te defer the substance of any
other protective orders until some information
is produced, because what I'm hearing from the
argument is you haven't given them anything.

Is that correct?

GISLESON:

Correct.

MR. WEGMANN:

That's correct. So --

THE COURT:

MR.

And I'm not going to issue a protective
order, even a limited protective order, without
the exchange of any information.

I'm ordering that you not disclose it.

And then if y'all reach an impasse on the
Characterization of an item -- and it won't be
medical records and that kind of stuff, I can
tell you; those are the easy ones -- y'all are
going to come back. And then I'll address it as
it occurs, because I'm --

WEGMANN:

And so in the judgment, I will get a

transcript, and I'll try to put verbatim what

you said.
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THE COURT:

T know that's awfully difficult. But I'm
going to grant the 30-day extension requested,
as unopposed.

You said you're not opposed.

You wanted 15.

You're not opposed to the extension.

So I'm going to give you 30 anyway. That's
what I was prepared to do. I'm going to order
that you turn over that information.

And I'm going to bar and prohibit you-all
from using it in any way other than in the
context with this litigation in this section and
that you not disclese it to anyone --

-- unless y'all agree that that's something
that can be disclosed. If you don't agree,
you're going to come back.

GISLESON:

Your Honor, with your direction that it's
sort of limited to the case and there's an order
that it's not to be distributed among anywhere
else, I want to make sure that, included in that
direction, the defendants produce the documents
to us; since it's protected by Your Honor's
language, they don't give us documents that are
redacted, because what they've done in another
section of court when there was 4 protective
order is they've given us documents under the
protective order and they redacted them. And

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THE COURT:

-- gone back to that section of court also,

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MR. GISLESON:

I understand. I just want to make sure --

Peremptoriiy, I'm just sort of asking.

MR. WEGMANN:

There will be certain information that's
redacted. You know, there are -- For example,
there are settlements with other parties where
the settlements specifically prohibit the
Archdiocese from disclosing the name of the
individual that was settled with. And there are
names of other clergy members that are included
in other documents.

And so we are redacting that information.
If they want to file a motion to compel
production of that information, as to whether or
not that information is relevant and can lead to
discovery of relevant evidence, we'll deal with
it then. But I'm not prepared to say that there
will be no redactions.

We will produce information that we believe
is under our obligation in discovery to produce,
and certainly information will be redacted.

They have the right to come in and have a
hearing as to whether or not that information
should be redacted or not should be redacted.

And we'll -- That's another day. I mean,
we can't -- I'm not prepared to tell you
exactly what it is. I do know that it's the
names of other alleged victims whose -- who have
requested confidentially, you know, and not --

their name not be disclosed unless ordered by
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the court, you know.

And then there are other claims against
ether clergy members which aren't relevant to
this proceeding. I don't believe that if
somebody in 1968 was accused of some improper
conduct, that that information should be given
to these parties. That's not relevant to the
case.

So I think we just need to defer our ruling
on that until we consider what those issues are.

MR. GISLESON:

That is absolutely abuse of process. When
you get a protective order, the whole purpose of
the protective order is to exchange information
back and forth without redactions. They don't
get both.

THE COURT:

I agree with that.
MR. GISLESON:

Yes, sir.
THE COURT:

I agree with that, because, otherwise, my
ruling serves no useful purpose; you're just
going to redact what you want to redact.

So you can either file your motion to
compel, or y'all can take this ruling up,
because obviously we're not going to be able to
do it voluntarily. Otherwise, though, my whole
order is pointiess.

MR. WEGMANN:
No, Judge. We're turning cover -- Okay.

We're turning over the information with respect

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to this clergy member. Okay.

If you saw their discovery, they've asked
us to produce information with respect to any
claim made against any clergy member since 1968.
Okay. Se we don't believe that's relevant, so
we're not producing the information with respect

to other clergy members. Okay? And so --

THE COURT:

I understand what you're saying.

WEGMANN:

That's right. And so in a -- In this
particular case -- this is Fraser and
Calamari -- okay, there are documents that

contain the names of "Fraser" and “Calamari,”
and there are Gocuments that contain the names
of other, I'm gonna call them, claimants that
allege that they were abused perhaps by Fraser
and Calamari. If don't have everybody memorized
as to whether this -- these are the clergy
members that had other claims or not.

And so, you know, for example, there are --
I'm aware that, in some of these cases, an
accusation was made against a clergy member.
The Archdiocese settled the case with the person
that made the allegation, and there was 4
settlement agreement in which the claimant in
that case said: Do net give my information. Do
not disclose my name to anyone absent a court
order.

Okay. And so what I'm saying is that we're
gonna give all the information. We will redact

very limited information, and we will -- Then
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if they want to file a motion to compel and say

that that information is -- should not be
redacted, we will be -- once again, abide by
whatever decision you make. Okay.

So, but there's lots of confidential
information that we are releasing that would be
governed by the protective order, you know.
And, for example, we have the counsel --

I'm sorry.

MR. HOWELL:
Evan Howell for Mr. -- for Paul Calamari.
MR. WEGMANN:
Right. And I'm just -- Is Father Fraser
dead?
MR. HOWELL:
As I understand it, he is.
MR. WEGMANN:

Okay. So Father -- For Father Calamari,
for example, in another case, we have health
care information of the clergy member. As far
as I know, it's protected health care
information, and I can't release it absent an
order of the court. sco we have reached out to
the plaintiff -- I'm sorry -- to the counsel for
that clergy member and said: Hey, do you object
to us preducing this confidential health
information --

THE COURT:
Let me tell you --
MR. WEGMANN:

-- subject to a protective order?

THE COURT:

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Let me tell you where I'm at. I've already
ruled, and the redaction argument is premature
because you haven't produced anything.

Now, I've already ruled. Tf y'all want te
do it another way, I've indicated that I want
you to address those issues in advance. And
you're telling me on the record: I'm not going
to do that. I'm going to give him redactions,
which I've done in other cases.

I've already ruled. Produce what you think
you need to produce.

You do what you need to do,

And y'all will be back, and then I'll clear
it up.

WEGMANN:

Thank you, Your Honor.
GISLESON:

Your Honor, I would just like te state for
the record that by arguing, under protective
order, that you also get redactions completely
undermines the purpose of a protective order. I

think it undermines their overall argument for

protective order. I think it's outrageous and
unprofessional. I'll leave it at that, Your
Honor.

HOWELL:

If I may, Your Honor, just for the record,
there are no other allegations against Paul
Calamari other than this lawsuit and one before.
I don't want it to be left on the record like
there's multiple allegations floating out there.

SISLESON;:
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Then what we'll leave on the record is that

the church itself put his name on its pedophile

dist. This isn't a situation where --
COURT:
Counsel, I've already ruled.
GISLESON:
Yeah.
HOWELL:
Excuse me. It's not a pedophile list as
it --
COURT:
Counsel --
HOWELL:
-- relates to my client. Thank you, Your
Honor.
COURT:
I've already ruled. I expect I'll see
y'all back shortly.
GISLESON:
Thank you, Your Honor.
COURT:

Y'all have a great weekend.

(Tne record is concluded.)

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REPORTER'S CERTIFICATE

 

This certificate is valid only for a transcript
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this page.

I, LAURTE FRICKEY HENDRICKSON, Official Court
Reporter in and for the State of Louisiana, employed as an
official court reporter by the Civil District Court for
the Parish cf Orleans, as the officer before whom this
testimony was taken, do hereby certify that the testimony
as set forth in the foregoing 28 pages was reported by me
in the stenotype reporting method, was prepared and
transcribed by me, and is a true and correct transcript to
the best of my ability and understanding; that the
transcript has been prepared in compliance with transcript
format guidelines required by statute or by rules of the
Louisiana Board of Examiners of Certified Shorthand
Reporters or by the Supreme Court of Louisiana; and that T
am not related to counsel or to the parties herein, nor am
I otherwise interested in the outcome of this matter.

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Signed this _ {9 aay of February, 2020.

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\_* TAURTE ’ HENDRICKSON
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